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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

CASE NO. 18-cr-00027-RBJ

UNITED STATES OF AMERICA,

               Plaintiff,

v.

MICHAEL JAMES SEATON,

            Defendant.
______________________________________________________________________________

         MICHAEL SEATON’S NOTICE RE: VOLUNTARY MEDICATION
_____________________________________________________________________________

       Defendant Michael James Seaton, by and through the Office of the Federal Public

Defender and undersigned Assistant Federal Public Defender Shira Kieval, hereby files this

Notice regarding voluntary medication.

       At the conclusion of the hearing on the government’s Sell motion on February 21, the

Court asked Mr. Seaton whether he would be willing to take medication voluntarily, and he said

that he would. Thereafter, the government withdrew its Sell motion, in anticipation that Mr.

Seaton would return to the federal medical facility at Springfield for four months and take

medication voluntarily.

       Since that hearing, Mr. Seaton has made clear to counsel that he does not wish to return

to the medical facility at Springfield, and he does not wish to be placed under the care of Dr.

Preston-Baecht or Dr. Sarrazin. Because of this, he is unwilling to agree to voluntarily take

psychotropic medication in a custodial setting. Although he may well be returned to the care of

those doctors at Springfield – either because the government could renew its Sell motion and

win, or because the government could move for him to be returned for a dangerousness
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evaluation and win - he continues to hold fast to his decision. Michael Seaton has asked that his

position be communicated to the Court.

       If asked again by counsel or the Court in person, he may momentarily agree to take

medication in that setting. However, counsel anticipates that he will quickly change his mind

again, as he has in the past. Therefore, undersigned counsel is notifying the Court and the

government that it is Mr. Seaton’s position that he will not agree to take psychotropic

medication, voluntarily, in a custodial setting. If the government renews its Sell motion as

previously argued, then counsel agrees that the Court can rule on that motion based on prior

briefing and the evidence presented at the February 21 hearing. If the government makes new

argument, then counsel requests the opportunity to respond.

                                              Respectfully submitted,

                                              VIRGINIA L. GRADY
                                              Federal Public Defender


                                              s/Shira Kieval
                                              SHIRA KIEVAL
                                              Assistant Federal Public Defender
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                                              Attorney for Defendant




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                                CERTIFICATE OF SERVICE


       I hereby certify that on February 27, 2019, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification of such filing to the
following e-mail addresses:

       Andrea Surratt, AUSA
       Email: andrea.surratt@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following non
CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
name:

       Michael James Seaton         (via Mail)
       Reg. No. 44560-013
       c/o Federal Detention Center

                                              s/Shira Kieval
                                              SHIRA KIEVAL
                                              Assistant Federal Public Defender
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                                              Denver, CO 80202
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